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Date         Area            District   First-Class    Marketing Mail
10/24/2020   Nation                             86.19%            89.24%
10/26/2020   Nation                             88.92%            88.02%
10/27/2020   Nation                             63.73%            90.02%
10/28/2020   Nation                             79.29%            87.57%
10/29/2020   Nation                             89.29%            87.44%
10/30/2020   Nation                             85.33%            85.64%
10/31/2020   Nation                             85.49%            83.40%
 11/2/2020   Nation                             88.94%            83.25%
 11/3/2020   Nation                             77.17%            88.98%

10/24/2020   Capital Metro                    79.72%             80.37%
10/24/2020   Eastern                          80.06%             84.36%
10/24/2020   Great Lakes                      86.17%             90.23%
10/24/2020   Northeast                        89.13%             92.94%
10/24/2020   Pacific                          92.60%             96.21%
10/24/2020   Southern                         87.58%             88.40%
10/24/2020   Western                          87.43%             92.46%
10/26/2020   Capital Metro                    82.46%             74.54%
10/26/2020   Eastern                          82.49%             79.64%
10/26/2020   Great Lakes                      88.75%             90.58%
10/26/2020   Northeast                        92.20%             92.87%
10/26/2020   Pacific                          94.85%             96.38%
10/26/2020   Southern                         89.90%             91.39%
10/26/2020   Western                          91.18%             92.08%
10/27/2020   Capital Metro                    52.64%             79.58%
10/27/2020   Eastern                          52.91%             85.43%
10/27/2020   Great Lakes                      59.35%             89.65%
10/27/2020   Northeast                        71.76%             93.17%
10/27/2020   Pacific                          74.62%             96.64%
10/27/2020   Southern                         68.04%             92.41%
10/27/2020   Western                          68.03%             91.96%
10/28/2020   Capital Metro                    66.76%             74.29%
10/28/2020   Eastern                          74.63%             81.16%
10/28/2020   Great Lakes                      75.85%             86.50%
10/28/2020   Northeast                        85.69%             92.22%
10/28/2020   Pacific                          87.00%             96.91%
10/28/2020   Southern                         81.56%             91.03%
10/28/2020   Western                          82.53%             90.50%
10/29/2020   Capital Metro                    85.49%             73.46%
10/29/2020   Eastern                          80.70%             81.08%
10/29/2020   Great Lakes                      88.26%             85.41%
10/29/2020   Northeast                        93.04%             92.45%
10/29/2020   Pacific                          94.36%             96.90%
10/29/2020   Southern                         90.81%             90.15%
10/29/2020   Western                          92.49%             91.56%
10/30/2020   Capital Metro                    78.80%             72.59%
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10/30/2020   Eastern                            78.88%    81.11%
10/30/2020   Great Lakes                        85.83%    82.67%
10/30/2020   Northeast                          90.83%    90.34%
10/30/2020   Pacific                            90.76%    96.64%
10/30/2020   Southern                           84.79%    86.79%
10/30/2020   Western                            88.46%    89.29%
10/31/2020   Capital Metro                      77.87%    64.72%
10/31/2020   Eastern                            78.50%    77.56%
10/31/2020   Great Lakes                        85.38%    79.42%
10/31/2020   Northeast                          90.84%    89.40%
10/31/2020   Pacific                            93.51%    95.95%
10/31/2020   Southern                           86.97%    86.86%
10/31/2020   Western                            86.80%    87.90%
 11/2/2020   Capital Metro                      84.03%    67.33%
 11/2/2020   Eastern                            83.43%    76.28%
 11/2/2020   Great Lakes                        88.05%    79.52%
 11/2/2020   Northeast                          92.50%    92.41%
 11/2/2020   Pacific                            94.61%    95.19%
 11/2/2020   Southern                           90.95%    87.82%
 11/2/2020   Western                            90.24%    86.55%
 11/3/2020   Capital Metro                      70.67%    81.79%
 11/3/2020   Eastern                            70.36%    81.56%
 11/3/2020   Great Lakes                        75.15%    84.93%
 11/3/2020   Northeast                          87.20%    95.24%
 11/3/2020   Pacific                            81.16%    96.63%
 11/3/2020   Southern                           77.83%    92.25%
 11/3/2020   Western                            80.62%    89.86%

10/24/2020 Capital Metro     Atlanta            83.97%    72.90%
10/24/2020 Capital Metro     Baltimore          61.49%    75.48%
10/24/2020 Capital Metro     Capital            76.07%    94.38%
                             Greater S
10/24/2020 Capital Metro     Carolina           77.39%    87.10%
10/24/2020 Capital Metro     Greensboro         76.74%    67.42%
10/24/2020 Capital Metro     Mid-Carolinas      85.05%    88.26%

10/24/2020 Capital Metro     Norther Virginia   83.71%    94.96%
10/24/2020 Capital Metro     Richmond           82.15%    87.37%
10/24/2020 Eastern           Appalachian        90.02%    95.36%
                             Central
10/24/2020   Eastern         Pennsylvania       62.43%    58.66%
10/24/2020   Eastern         Kentuckiana        90.47%    96.87%
10/24/2020   Eastern         Norther Ohio       80.89%    75.12%
10/24/2020   Eastern         Ohio Valley        83.28%    84.12%
                             Philadelphia
10/24/2020 Eastern           Metropo            56.02%    74.57%
10/24/2020 Eastern           South Jersey       80.13%    89.89%
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10/24/2020 Eastern         Tennessee          86.00%      90.02%
                           Western New
10/24/2020 Eastern         York               90.10%      94.15%
                           Western
10/24/2020   Eastern       Pennsylvania       86.88%      97.88%
10/24/2020   Great Lakes   Central Illinois   84.97%      85.97%
10/24/2020   Great Lakes   Chicago            91.22%      89.80%
10/24/2020   Great Lakes   Detroit            71.50%      85.56%
10/24/2020   Great Lakes   Gateway            88.30%      92.90%

10/24/2020 Great Lakes     Greater Indiana    93.09%      94.24%
                           Greater
10/24/2020   Great Lakes   Michigan           87.36%      93.27%
10/24/2020   Great Lakes   Lakeland           87.09%      93.40%
10/24/2020   Northeast     Albany             88.19%      94.93%
10/24/2020   Northeast     Caribbean          97.01%      96.36%
                           Connecticut
10/24/2020 Northeast       Valley             87.04%      94.86%

10/24/2020 Northeast       Greater Boston     89.66%      86.03%
10/24/2020 Northeast       Long Island        89.35%      94.15%
10/24/2020 Northeast       New York           86.87%      97.91%
                           Northern New
10/24/2020 Northeast       England            90.74%      95.66%
                           Northern New
10/24/2020   Northeast     Jersey             88.16%      92.34%
10/24/2020   Northeast     Triboro            92.48%      95.31%
10/24/2020   Northeast     Westchester        88.57%      84.12%
10/24/2020   Pacific       Bay-Valley         93.60%      96.79%
10/24/2020   Pacific       Honolulu           91.00%      88.59%
10/24/2020   Pacific       Los Angeles        90.09%      95.77%
10/24/2020   Pacific       Sacramento         94.22%      92.25%
10/24/2020   Pacific       San Diego          92.60%      96.34%
10/24/2020   Pacific       San Francisco      94.50%      98.64%
10/24/2020   Pacific       Santa Ana          92.36%      97.43%
10/24/2020   Pacific       Sierra Coastal     91.69%      97.15%
10/24/2020   Southern      Alabama            80.51%      81.34%
10/24/2020   Southern      Arkansas           89.32%      93.77%
10/24/2020   Southern      Dallas             91.30%      94.65%
10/24/2020   Southern      Ft. Worth          87.57%      87.71%
10/24/2020   Southern      Gulf Atlantic      78.83%      86.38%
10/24/2020   Southern      Houston            88.78%      90.16%
10/24/2020   Southern      Louisiana          91.44%      81.47%
10/24/2020   Southern      Mississippi        79.79%      89.50%
10/24/2020   Southern      Oklahoma           93.14%      94.48%
10/24/2020   Southern      Rio Grande         92.42%      92.23%
10/24/2020   Southern      South Florida      84.91%      92.82%
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10/24/2020   Southern        Suncoast           89.04%    80.05%
10/24/2020   Western         Alaska             84.25%    92.37%
10/24/2020   Western         Arizona            90.12%    88.13%
10/24/2020   Western         Central Plains     88.94%    96.12%
                             Colorado/Wyom
10/24/2020   Western         ing                74.36%    92.17%
10/24/2020   Western         Dakotas            90.27%    96.49%
10/24/2020   Western         Hawkeye            88.96%    93.61%
10/24/2020   Western         Mid-Americas       89.14%    90.04%
10/24/2020   Western         Nevada Sierra      91.68%    97.05%
10/24/2020   Western         Northland          81.98%    93.64%
10/24/2020   Western         Portland           88.58%    92.76%
10/24/2020   Western         Salt Lake City     93.06%    92.07%
10/24/2020   Western         Seattle            86.08%    91.31%
10/26/2020   Capital Metro   Atlanta            87.34%    62.56%
10/26/2020   Capital Metro   Baltimore          69.42%    66.91%
10/26/2020   Capital Metro   Capital            82.46%    95.96%
                             Greater S
10/26/2020 Capital Metro     Carolina           73.11%    86.77%
10/26/2020 Capital Metro     Greensboro         79.18%    59.05%
10/26/2020 Capital Metro     Mid-Carolinas      88.18%    76.78%

10/26/2020 Capital Metro     Norther Virginia   86.92%    96.07%
10/26/2020 Capital Metro     Richmond           88.77%    89.92%
10/26/2020 Eastern           Appalachian        86.71%    90.73%
                             Central
10/26/2020   Eastern         Pennsylvania       70.61%    65.26%
10/26/2020   Eastern         Kentuckiana        88.84%    95.84%
10/26/2020   Eastern         Norther Ohio       83.40%    73.57%
10/26/2020   Eastern         Ohio Valley        87.91%    81.09%
                             Philadelphia
10/26/2020 Eastern           Metropo            60.31%    53.00%
10/26/2020 Eastern           South Jersey       81.02%    86.84%
10/26/2020 Eastern           Tennessee          90.10%    89.41%
                             Western New
10/26/2020 Eastern           York               89.46%    94.07%
                             Western
10/26/2020   Eastern         Pennsylvania       91.34%    98.23%
10/26/2020   Great Lakes     Central Illinois   86.93%    84.64%
10/26/2020   Great Lakes     Chicago            92.78%    91.85%
10/26/2020   Great Lakes     Detroit            77.24%    82.80%
10/26/2020   Great Lakes     Gateway            88.85%    93.90%

10/26/2020 Great Lakes       Greater Indiana    94.54%    94.64%
                             Greater
10/26/2020 Great Lakes       Michigan           88.91%    94.21%
10/26/2020 Great Lakes       Lakeland           90.66%    95.40%
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10/26/2020 Northeast     Albany            92.50%         93.53%
10/26/2020 Northeast     Caribbean         95.19%         97.28%
                         Connecticut
10/26/2020 Northeast     Valley            91.87%         96.13%

10/26/2020 Northeast     Greater Boston    93.33%         92.27%
10/26/2020 Northeast     Long Island       88.89%         93.57%
10/26/2020 Northeast     New York          91.63%         97.28%
                         Northern New
10/26/2020 Northeast     England           92.19%         95.49%
                         Northern New
10/26/2020   Northeast   Jersey            93.04%         89.91%
10/26/2020   Northeast   Triboro           92.15%         90.13%
10/26/2020   Northeast   Westchester       89.36%         86.06%
10/26/2020   Pacific     Bay-Valley        94.85%         97.68%
10/26/2020   Pacific     Honolulu          92.98%         45.13%
10/26/2020   Pacific     Los Angeles       93.73%         95.45%
10/26/2020   Pacific     Sacramento        95.82%         94.04%
10/26/2020   Pacific     San Diego         94.89%         96.96%
10/26/2020   Pacific     San Francisco     95.40%         97.64%
10/26/2020   Pacific     Santa Ana         95.35%         97.33%
10/26/2020   Pacific     Sierra Coastal    93.05%         97.51%
10/26/2020   Southern    Alabama           86.62%         82.34%
10/26/2020   Southern    Arkansas          94.69%         91.63%
10/26/2020   Southern    Dallas            91.84%         96.42%
10/26/2020   Southern    Ft. Worth         90.49%         88.43%
10/26/2020   Southern    Gulf Atlantic     82.59%         85.42%
10/26/2020   Southern    Houston           90.19%         96.00%
10/26/2020   Southern    Louisiana         92.34%         89.46%
10/26/2020   Southern    Mississippi       82.19%         85.89%
10/26/2020   Southern    Oklahoma          94.38%         96.69%
10/26/2020   Southern    Rio Grande        92.86%         90.75%
10/26/2020   Southern    South Florida     88.26%         92.27%
10/26/2020   Southern    Suncoast          91.80%         92.18%
10/26/2020   Western     Alaska            86.60%         86.32%
10/26/2020   Western     Arizona           92.18%         87.91%
10/26/2020   Western     Central Plains    94.69%         93.42%
                         Colorado/Wyom
10/26/2020   Western     ing               75.49%         90.51%
10/26/2020   Western     Dakotas           92.27%         95.75%
10/26/2020   Western     Hawkeye           92.61%         92.65%
10/26/2020   Western     Mid-Americas      91.50%         92.41%
10/26/2020   Western     Nevada Sierra     92.84%         93.99%
10/26/2020   Western     Northland         88.88%         91.64%
10/26/2020   Western     Portland          92.74%         94.12%
10/26/2020   Western     Salt Lake City    94.05%         93.19%
10/26/2020   Western     Seattle           91.97%         95.92%
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10/27/2020 Capital Metro   Atlanta            53.78%      77.18%
10/27/2020 Capital Metro   Baltimore          31.86%      70.54%
10/27/2020 Capital Metro   Capital            59.02%      95.80%
                           Greater S
10/27/2020 Capital Metro   Carolina           41.80%      91.24%
10/27/2020 Capital Metro   Greensboro         47.78%      61.12%
10/27/2020 Capital Metro   Mid-Carolinas      64.71%      71.61%

10/27/2020 Capital Metro   Norther Virginia   53.79%      96.58%
10/27/2020 Capital Metro   Richmond           63.89%      92.27%
10/27/2020 Eastern         Appalachian        61.71%      93.64%
                           Central
10/27/2020   Eastern       Pennsylvania       58.20%      61.75%
10/27/2020   Eastern       Kentuckiana        72.20%      97.67%
10/27/2020   Eastern       Norther Ohio       46.25%      77.96%
10/27/2020   Eastern       Ohio Valley        50.98%      87.30%
                           Philadelphia
10/27/2020 Eastern         Metropo            23.19%      71.29%
10/27/2020 Eastern         South Jersey       42.01%      88.61%
10/27/2020 Eastern         Tennessee          61.72%      92.63%
                           Western New
10/27/2020 Eastern         York               67.65%      97.28%
                           Western
10/27/2020   Eastern       Pennsylvania       69.61%      97.36%
10/27/2020   Great Lakes   Central Illinois   63.88%      89.92%
10/27/2020   Great Lakes   Chicago            65.89%      94.52%
10/27/2020   Great Lakes   Detroit            42.94%      76.59%
10/27/2020   Great Lakes   Gateway            70.15%      92.61%

10/27/2020 Great Lakes     Greater Indiana    65.02%      95.91%
                           Greater
10/27/2020   Great Lakes   Michigan           59.76%      86.62%
10/27/2020   Great Lakes   Lakeland           56.07%      95.32%
10/27/2020   Northeast     Albany             71.45%      93.31%
10/27/2020   Northeast     Caribbean          92.96%      80.62%
                           Connecticut
10/27/2020 Northeast       Valley             72.97%      94.01%

10/27/2020 Northeast       Greater Boston     64.51%      93.10%
10/27/2020 Northeast       Long Island        73.77%      96.09%
10/27/2020 Northeast       New York           71.25%      97.30%
                           Northern New
10/27/2020 Northeast       England            70.93%      86.59%
                           Northern New
10/27/2020 Northeast       Jersey             66.36%      93.77%
10/27/2020 Northeast       Triboro            85.13%      93.29%
10/27/2020 Northeast       Westchester        70.10%      93.39%
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10/27/2020   Pacific         Bay-Valley         75.49%    97.23%
10/27/2020   Pacific         Honolulu           83.04%    88.85%
10/27/2020   Pacific         Los Angeles        78.27%    97.00%
10/27/2020   Pacific         Sacramento         80.04%    93.19%
10/27/2020   Pacific         San Diego          75.36%    96.42%
10/27/2020   Pacific         San Francisco      73.13%    98.38%
10/27/2020   Pacific         Santa Ana          61.63%    98.03%
10/27/2020   Pacific         Sierra Coastal     74.98%    97.57%
10/27/2020   Southern        Alabama            57.00%    89.48%
10/27/2020   Southern        Arkansas           71.83%    92.98%
10/27/2020   Southern        Dallas             73.91%    93.78%
10/27/2020   Southern        Ft. Worth          73.05%    93.15%
10/27/2020   Southern        Gulf Atlantic      59.06%    86.14%
10/27/2020   Southern        Houston            78.52%    95.49%
10/27/2020   Southern        Louisiana          68.11%    90.09%
10/27/2020   Southern        Mississippi        52.96%    87.55%
10/27/2020   Southern        Oklahoma           79.26%    96.70%
10/27/2020   Southern        Rio Grande         78.02%    95.34%
10/27/2020   Southern        South Florida      55.35%    89.75%
10/27/2020   Southern        Suncoast           61.65%    95.57%
10/27/2020   Western         Alaska             66.61%    90.87%
10/27/2020   Western         Arizona            69.89%    90.06%
10/27/2020   Western         Central Plains     87.72%    96.30%
                             Colorado/Wyom
10/27/2020   Western         ing                38.53%    86.47%
10/27/2020   Western         Dakotas            66.78%    94.67%
10/27/2020   Western         Hawkeye            69.78%    93.80%
10/27/2020   Western         Mid-Americas       58.07%    85.82%
10/27/2020   Western         Nevada Sierra      76.61%    96.50%
10/27/2020   Western         Northland          58.87%    90.96%
10/27/2020   Western         Portland           74.19%    87.83%
10/27/2020   Western         Salt Lake City     64.12%    96.49%
10/27/2020   Western         Seattle            61.30%    97.31%
10/28/2020   Capital Metro   Atlanta            79.41%    69.66%
10/28/2020   Capital Metro   Baltimore          47.44%    82.75%
10/28/2020   Capital Metro   Capital            76.06%    94.02%
                             Greater S
10/28/2020 Capital Metro     Carolina           71.12%    87.04%
10/28/2020 Capital Metro     Greensboro         57.99%    48.09%
10/28/2020 Capital Metro     Mid-Carolinas      52.50%    66.46%

10/28/2020 Capital Metro     Norther Virginia   74.09%    95.05%
10/28/2020 Capital Metro     Richmond           83.19%    89.71%
10/28/2020 Eastern           Appalachian        83.72%    93.60%
                             Central
10/28/2020 Eastern           Pennsylvania       55.59%    52.45%
10/28/2020 Eastern           Kentuckiana        89.17%    96.17%
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10/28/2020 Eastern         Norther Ohio       72.92%      63.74%
10/28/2020 Eastern         Ohio Valley        80.62%      88.29%
                           Philadelphia
10/28/2020 Eastern         Metropo            47.86%      62.26%
10/28/2020 Eastern         South Jersey       75.69%      93.02%
10/28/2020 Eastern         Tennessee          86.59%      88.76%
                           Western New
10/28/2020 Eastern         York               91.78%      94.11%
                           Western
10/28/2020   Eastern       Pennsylvania       85.33%      94.56%
10/28/2020   Great Lakes   Central Illinois   72.12%      88.70%
10/28/2020   Great Lakes   Chicago            80.27%      81.41%
10/28/2020   Great Lakes   Detroit            55.37%      73.78%
10/28/2020   Great Lakes   Gateway            82.93%      92.47%

10/28/2020 Great Lakes     Greater Indiana    87.25%      91.35%
                           Greater
10/28/2020   Great Lakes   Michigan           76.25%      88.75%
10/28/2020   Great Lakes   Lakeland           78.50%      91.71%
10/28/2020   Northeast     Albany             88.76%      95.57%
10/28/2020   Northeast     Caribbean          95.87%      92.20%
                           Connecticut
10/28/2020 Northeast       Valley             85.87%      93.84%

10/28/2020 Northeast       Greater Boston     88.37%      84.51%
10/28/2020 Northeast       Long Island        83.01%      92.75%
10/28/2020 Northeast       New York           86.71%      96.05%
                           Northern New
10/28/2020 Northeast       England            82.24%      92.63%
                           Northern New
10/28/2020   Northeast     Jersey             81.35%      91.47%
10/28/2020   Northeast     Triboro            83.80%      94.59%
10/28/2020   Northeast     Westchester        84.89%      94.14%
10/28/2020   Pacific       Bay-Valley         89.93%      96.25%
10/28/2020   Pacific       Honolulu           89.41%      91.05%
10/28/2020   Pacific       Los Angeles        88.68%      96.88%
10/28/2020   Pacific       Sacramento         85.49%      95.06%
10/28/2020   Pacific       San Diego          89.43%      98.16%
10/28/2020   Pacific       San Francisco      85.57%      98.42%
10/28/2020   Pacific       Santa Ana          83.62%      97.13%
10/28/2020   Pacific       Sierra Coastal     88.45%      96.99%
10/28/2020   Southern      Alabama            88.67%      84.45%
10/28/2020   Southern      Arkansas           88.45%      95.01%
10/28/2020   Southern      Dallas             77.49%      92.49%
10/28/2020   Southern      Ft. Worth          84.33%      92.85%
10/28/2020   Southern      Gulf Atlantic      77.97%      84.80%
10/28/2020   Southern      Houston            77.31%      95.14%
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10/28/2020   Southern        Louisiana          90.44%    90.74%
10/28/2020   Southern        Mississippi        79.76%    85.61%
10/28/2020   Southern        Oklahoma           92.49%    97.04%
10/28/2020   Southern        Rio Grande         86.51%    94.99%
10/28/2020   Southern        South Florida      67.01%    91.97%
10/28/2020   Southern        Suncoast           83.34%    89.26%
10/28/2020   Western         Alaska             79.51%    90.42%
10/28/2020   Western         Arizona            80.93%    91.23%
10/28/2020   Western         Central Plains     86.53%    93.77%
                             Colorado/Wyom
10/28/2020   Western         ing                59.91%    78.04%
10/28/2020   Western         Dakotas            86.51%    95.24%
10/28/2020   Western         Hawkeye            87.68%    91.01%
10/28/2020   Western         Mid-Americas       83.81%    77.14%
10/28/2020   Western         Nevada Sierra      86.11%    97.04%
10/28/2020   Western         Northland          81.57%    87.57%
10/28/2020   Western         Portland           85.78%    91.22%
10/28/2020   Western         Salt Lake City     80.87%    97.38%
10/28/2020   Western         Seattle            81.82%    97.16%
10/29/2020   Capital Metro   Atlanta            90.85%    70.31%
10/29/2020   Capital Metro   Baltimore          68.89%    75.00%
10/29/2020   Capital Metro   Capital            87.32%    85.89%
                             Greater S
10/29/2020 Capital Metro     Carolina           83.14%    89.97%
10/29/2020 Capital Metro     Greensboro         80.94%    47.68%
10/29/2020 Capital Metro     Mid-Carolinas      87.18%    70.25%

10/29/2020 Capital Metro     Norther Virginia   88.70%    92.96%
10/29/2020 Capital Metro     Richmond           91.78%    86.49%
10/29/2020 Eastern           Appalachian        90.07%    90.43%
                             Central
10/29/2020   Eastern         Pennsylvania       59.42%    51.60%
10/29/2020   Eastern         Kentuckiana        92.47%    95.34%
10/29/2020   Eastern         Norther Ohio       77.49%    77.71%
10/29/2020   Eastern         Ohio Valley        86.44%    88.71%
                             Philadelphia
10/29/2020 Eastern           Metropo            47.45%    52.45%
10/29/2020 Eastern           South Jersey       86.44%    93.24%
10/29/2020 Eastern           Tennessee          94.50%    88.73%
                             Western New
10/29/2020 Eastern           York               91.57%    93.46%
                             Western
10/29/2020   Eastern         Pennsylvania       92.25%    96.56%
10/29/2020   Great Lakes     Central Illinois   85.24%    86.45%
10/29/2020   Great Lakes     Chicago            88.94%    87.17%
10/29/2020   Great Lakes     Detroit            76.32%    70.87%
10/29/2020   Great Lakes     Gateway            92.15%    87.85%
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10/29/2020 Great Lakes     Greater Indiana   93.29%     92.65%
                           Greater
10/29/2020   Great Lakes   Michigan          88.18%     93.39%
10/29/2020   Great Lakes   Lakeland          90.36%     93.45%
10/29/2020   Northeast     Albany            94.51%     95.52%
10/29/2020   Northeast     Caribbean         97.42%     82.27%
                           Connecticut
10/29/2020 Northeast       Valley            93.30%     93.06%

10/29/2020 Northeast       Greater Boston    93.63%     87.56%
10/29/2020 Northeast       Long Island       87.56%     94.64%
10/29/2020 Northeast       New York          91.74%     97.12%
                           Northern New
10/29/2020 Northeast       England           94.11%     88.20%
                           Northern New
10/29/2020   Northeast     Jersey            93.80%     93.91%
10/29/2020   Northeast     Triboro           89.45%     93.87%
10/29/2020   Northeast     Westchester       93.23%     92.97%
10/29/2020   Pacific       Bay-Valley        94.03%     96.45%
10/29/2020   Pacific       Honolulu          93.60%     96.31%
10/29/2020   Pacific       Los Angeles       94.98%     96.65%
10/29/2020   Pacific       Sacramento        94.57%     95.04%
10/29/2020   Pacific       San Diego         94.57%     96.63%
10/29/2020   Pacific       San Francisco     93.49%     98.36%
10/29/2020   Pacific       Santa Ana         93.85%     98.24%
10/29/2020   Pacific       Sierra Coastal    94.84%     97.40%
10/29/2020   Southern      Alabama           91.09%     75.85%
10/29/2020   Southern      Arkansas          94.01%     89.87%
10/29/2020   Southern      Dallas            91.40%     94.06%
10/29/2020   Southern      Ft. Worth         92.20%     90.45%
10/29/2020   Southern      Gulf Atlantic     86.63%     77.92%
10/29/2020   Southern      Houston           86.56%     95.54%
10/29/2020   Southern      Louisiana         92.85%     86.36%
10/29/2020   Southern      Mississippi       92.56%     83.85%
10/29/2020   Southern      Oklahoma          91.33%     96.01%
10/29/2020   Southern      Rio Grande        93.64%     95.42%
10/29/2020   Southern      South Florida     87.85%     91.82%
10/29/2020   Southern      Suncoast          93.93%     92.92%
10/29/2020   Western       Alaska            77.05%     96.88%
10/29/2020   Western       Arizona           94.78%     89.61%
10/29/2020   Western       Central Plains    97.27%     94.88%
                           Colorado/Wyom
10/29/2020   Western       ing               73.32%     79.96%
10/29/2020   Western       Dakotas           92.75%     94.92%
10/29/2020   Western       Hawkeye           94.16%     94.85%
10/29/2020   Western       Mid-Americas      91.82%     82.56%
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10/29/2020   Western         Nevada Sierra      94.21%   97.09%
10/29/2020   Western         Northland          90.75%   90.50%
10/29/2020   Western         Portland           93.98%   96.18%
10/29/2020   Western         Salt Lake City     93.61%   96.44%
10/29/2020   Western         Seattle            91.32%   97.09%
10/30/2020   Capital Metro   Atlanta            85.56%   63.38%
10/30/2020   Capital Metro   Baltimore          66.61%   84.60%
10/30/2020   Capital Metro   Capital            83.87%   86.23%
                             Greater S
10/30/2020 Capital Metro     Carolina           66.72%   85.13%
10/30/2020 Capital Metro     Greensboro         68.24%   57.85%
10/30/2020 Capital Metro     Mid-Carolinas      83.28%   64.52%

10/30/2020 Capital Metro     Norther Virginia   81.29%   94.67%
10/30/2020 Capital Metro     Richmond           88.24%   84.50%
10/30/2020 Eastern           Appalachian        90.94%   90.35%
                             Central
10/30/2020   Eastern         Pennsylvania       63.49%   50.76%
10/30/2020   Eastern         Kentuckiana        89.15%   94.82%
10/30/2020   Eastern         Norther Ohio       73.42%   65.04%
10/30/2020   Eastern         Ohio Valley        83.02%   89.81%
                             Philadelphia
10/30/2020 Eastern           Metropo            56.73%   67.17%
10/30/2020 Eastern           South Jersey       84.51%   92.25%
10/30/2020 Eastern           Tennessee          87.22%   85.98%
                             Western New
10/30/2020 Eastern           York               92.66%   95.51%
                             Western
10/30/2020   Eastern         Pennsylvania       88.43%   96.39%
10/30/2020   Great Lakes     Central Illinois   79.18%   88.25%
10/30/2020   Great Lakes     Chicago            88.80%   84.40%
10/30/2020   Great Lakes     Detroit            72.56%   61.78%
10/30/2020   Great Lakes     Gateway            89.80%   89.48%

10/30/2020 Great Lakes       Greater Indiana    93.92%   89.35%
                             Greater
10/30/2020   Great Lakes     Michigan           80.76%   84.87%
10/30/2020   Great Lakes     Lakeland           88.89%   92.64%
10/30/2020   Northeast       Albany             90.21%   92.38%
10/30/2020   Northeast       Caribbean          93.02%   93.46%
                             Connecticut
10/30/2020 Northeast         Valley             91.83%   87.70%

10/30/2020 Northeast         Greater Boston     90.51%   87.28%
10/30/2020 Northeast         Long Island        91.08%   87.32%
10/30/2020 Northeast         New York           89.90%   97.92%
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                             Northern New
10/30/2020 Northeast         England          88.64%    89.22%
                             Northern New
10/30/2020   Northeast       Jersey           91.53%    92.91%
10/30/2020   Northeast       Triboro          89.37%    94.02%
10/30/2020   Northeast       Westchester      91.84%    88.02%
10/30/2020   Pacific         Bay-Valley       92.78%    96.20%
10/30/2020   Pacific         Honolulu         91.27%    96.27%
10/30/2020   Pacific         Los Angeles      94.11%    96.17%
10/30/2020   Pacific         Sacramento       87.08%    96.01%
10/30/2020   Pacific         San Diego        92.32%    97.67%
10/30/2020   Pacific         San Francisco    93.38%    96.44%
10/30/2020   Pacific         Santa Ana        85.81%    97.22%
10/30/2020   Pacific         Sierra Coastal   92.85%    96.12%
10/30/2020   Southern        Alabama          87.75%    66.09%
10/30/2020   Southern        Arkansas         88.69%    85.97%
10/30/2020   Southern        Dallas           78.40%    89.58%
10/30/2020   Southern        Ft. Worth        85.37%    91.70%
10/30/2020   Southern        Gulf Atlantic    80.95%    73.94%
10/30/2020   Southern        Houston          89.58%    93.90%
10/30/2020   Southern        Louisiana        80.53%    83.27%
10/30/2020   Southern        Mississippi      83.99%    81.76%
10/30/2020   Southern        Oklahoma         91.32%    94.58%
10/30/2020   Southern        Rio Grande       90.27%    94.28%
10/30/2020   Southern        South Florida    80.66%    87.12%
10/30/2020   Southern        Suncoast         88.05%    89.91%
10/30/2020   Western         Alaska           88.83%    85.48%
10/30/2020   Western         Arizona          91.48%    86.84%
10/30/2020   Western         Central Plains   90.88%    92.56%
                             Colorado/Wyom
10/30/2020   Western         ing              67.73%    65.03%
10/30/2020   Western         Dakotas          91.85%    94.45%
10/30/2020   Western         Hawkeye          91.75%    95.00%
10/30/2020   Western         Mid-Americas     84.95%    82.37%
10/30/2020   Western         Nevada Sierra    92.39%    95.97%
10/30/2020   Western         Northland        89.21%    90.04%
10/30/2020   Western         Portland         93.83%    95.40%
10/30/2020   Western         Salt Lake City   91.20%    95.27%
10/30/2020   Western         Seattle          87.73%    93.50%
10/31/2020   Capital Metro   Atlanta          82.13%    56.51%
10/31/2020   Capital Metro   Baltimore        71.14%    74.76%
10/31/2020   Capital Metro   Capital          74.61%    89.77%
                             Greater S
10/31/2020 Capital Metro     Carolina         69.15%    66.73%
10/31/2020 Capital Metro     Greensboro       75.01%    49.88%
10/31/2020 Capital Metro     Mid-Carolinas    79.06%    59.78%
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10/31/2020 Capital Metro   Norther Virginia   78.96%    94.41%
10/31/2020 Capital Metro   Richmond           87.87%    60.79%
10/31/2020 Eastern         Appalachian        89.84%    93.82%
                           Central
10/31/2020   Eastern       Pennsylvania       64.84%    44.85%
10/31/2020   Eastern       Kentuckiana        90.37%    94.61%
10/31/2020   Eastern       Norther Ohio       74.02%    55.55%
10/31/2020   Eastern       Ohio Valley        82.46%    89.68%
                           Philadelphia
10/31/2020 Eastern         Metropo            56.74%    57.37%
10/31/2020 Eastern         South Jersey       84.54%    89.88%
10/31/2020 Eastern         Tennessee          88.29%    88.40%
                           Western New
10/31/2020 Eastern         York               89.15%    92.49%
                           Western
10/31/2020   Eastern       Pennsylvania       88.68%    93.34%
10/31/2020   Great Lakes   Central Illinois   81.47%    84.38%
10/31/2020   Great Lakes   Chicago            83.05%    86.50%
10/31/2020   Great Lakes   Detroit            75.43%    57.71%
10/31/2020   Great Lakes   Gateway            88.37%    86.10%

10/31/2020 Great Lakes     Greater Indiana    91.41%    91.94%
                           Greater
10/31/2020   Great Lakes   Michigan           82.81%    79.66%
10/31/2020   Great Lakes   Lakeland           87.61%    89.61%
10/31/2020   Northeast     Albany             90.92%    91.40%
10/31/2020   Northeast     Caribbean          93.75%    98.70%
                           Connecticut
10/31/2020 Northeast       Valley             91.39%    93.48%

10/31/2020 Northeast       Greater Boston     91.41%    81.23%
10/31/2020 Northeast       Long Island        87.17%    89.23%
10/31/2020 Northeast       New York           88.22%    97.82%
                           Northern New
10/31/2020 Northeast       England            89.38%    81.70%
                           Northern New
10/31/2020   Northeast     Jersey             91.82%    94.13%
10/31/2020   Northeast     Triboro            90.92%    90.61%
10/31/2020   Northeast     Westchester        92.69%    90.16%
10/31/2020   Pacific       Bay-Valley         94.45%    97.45%
10/31/2020   Pacific       Honolulu           92.41%    92.96%
10/31/2020   Pacific       Los Angeles        95.43%    95.59%
10/31/2020   Pacific       Sacramento         92.54%    94.27%
10/31/2020   Pacific       San Diego          93.69%    95.44%
10/31/2020   Pacific       San Francisco      93.73%    96.19%
10/31/2020   Pacific       Santa Ana          91.43%    94.98%
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10/31/2020   Pacific         Sierra Coastal     93.83%   97.48%
10/31/2020   Southern        Alabama            85.48%   78.10%
10/31/2020   Southern        Arkansas           87.33%   90.64%
10/31/2020   Southern        Dallas             84.83%   90.01%
10/31/2020   Southern        Ft. Worth          90.18%   93.69%
10/31/2020   Southern        Gulf Atlantic      82.83%   70.65%
10/31/2020   Southern        Houston            89.76%   94.12%
10/31/2020   Southern        Louisiana          88.90%   80.62%
10/31/2020   Southern        Mississippi        76.79%   81.67%
10/31/2020   Southern        Oklahoma           92.22%   94.02%
10/31/2020   Southern        Rio Grande         92.07%   94.98%
10/31/2020   Southern        South Florida      80.36%   85.13%
10/31/2020   Southern        Suncoast           91.15%   87.92%
10/31/2020   Western         Alaska             86.57%   72.08%
10/31/2020   Western         Arizona            91.91%   88.76%
10/31/2020   Western         Central Plains     88.61%   88.73%
                             Colorado/Wyom
10/31/2020   Western         ing                56.59%   62.77%
10/31/2020   Western         Dakotas            91.92%   89.32%
10/31/2020   Western         Hawkeye            92.52%   93.55%
10/31/2020   Western         Mid-Americas       88.54%   85.51%
10/31/2020   Western         Nevada Sierra      93.14%   95.37%
10/31/2020   Western         Northland          86.33%   90.73%
10/31/2020   Western         Portland           90.36%   96.64%
10/31/2020   Western         Salt Lake City     89.52%   95.10%
10/31/2020   Western         Seattle            87.60%   92.25%
 11/2/2020   Capital Metro   Atlanta            87.21%   68.45%
 11/2/2020   Capital Metro   Baltimore          79.65%   74.70%
 11/2/2020   Capital Metro   Capital            82.14%   95.14%
                             Greater S
 11/2/2020 Capital Metro     Carolina           76.58%   75.55%
 11/2/2020 Capital Metro     Greensboro         78.47%   53.92%
 11/2/2020 Capital Metro     Mid-Carolinas      86.65%   38.96%

 11/2/2020 Capital Metro     Norther Virginia   90.62%   96.67%
 11/2/2020 Capital Metro     Richmond           89.98%   78.11%
 11/2/2020 Eastern           Appalachian        89.79%   83.19%
                             Central
 11/2/2020   Eastern         Pennsylvania       69.98%   43.63%
 11/2/2020   Eastern         Kentuckiana        93.23%   92.97%
 11/2/2020   Eastern         Norther Ohio       79.43%   65.85%
 11/2/2020   Eastern         Ohio Valley        89.43%   90.84%
                             Philadelphia
 11/2/2020 Eastern           Metropo            67.71%   55.31%
 11/2/2020 Eastern           South Jersey       86.71%   92.58%
 11/2/2020 Eastern           Tennessee          91.16%   86.55%
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                          Western New
11/2/2020 Eastern         York               94.07%   94.53%
                          Western
11/2/2020   Eastern       Pennsylvania       92.22%   95.79%
11/2/2020   Great Lakes   Central Illinois   87.79%   89.37%
11/2/2020   Great Lakes   Chicago            86.13%   89.73%
11/2/2020   Great Lakes   Detroit            76.81%   46.86%
11/2/2020   Great Lakes   Gateway            90.87%   90.77%

11/2/2020 Great Lakes     Greater Indiana    93.50%   92.01%
                          Greater
11/2/2020   Great Lakes   Michigan           85.28%   85.39%
11/2/2020   Great Lakes   Lakeland           89.53%   92.10%
11/2/2020   Northeast     Albany             93.85%   96.37%
11/2/2020   Northeast     Caribbean          93.90%   85.60%
                          Connecticut
11/2/2020 Northeast       Valley             92.37%   95.40%

11/2/2020 Northeast       Greater Boston     92.43%   89.44%
11/2/2020 Northeast       Long Island        90.77%   87.69%
11/2/2020 Northeast       New York           91.82%   98.66%
                          Northern New
11/2/2020 Northeast       England            91.77%   86.14%
                          Northern New
11/2/2020   Northeast     Jersey             92.91%   93.19%
11/2/2020   Northeast     Triboro            93.96%   93.73%
11/2/2020   Northeast     Westchester        91.44%   86.74%
11/2/2020   Pacific       Bay-Valley         94.09%   97.78%
11/2/2020   Pacific       Honolulu           95.76%   76.34%
11/2/2020   Pacific       Los Angeles        96.32%   95.00%
11/2/2020   Pacific       Sacramento         92.74%   92.61%
11/2/2020   Pacific       San Diego          95.03%   94.65%
11/2/2020   Pacific       San Francisco      95.22%   96.07%
11/2/2020   Pacific       Santa Ana          94.94%   94.53%
11/2/2020   Pacific       Sierra Coastal     93.62%   97.05%
11/2/2020   Southern      Alabama            88.22%   86.80%
11/2/2020   Southern      Arkansas           92.59%   93.72%
11/2/2020   Southern      Dallas             90.72%   93.95%
11/2/2020   Southern      Ft. Worth          93.89%   94.47%
11/2/2020   Southern      Gulf Atlantic      87.76%   75.07%
11/2/2020   Southern      Houston            92.89%   95.89%
11/2/2020   Southern      Louisiana          88.17%   88.33%
11/2/2020   Southern      Mississippi        85.38%   76.44%
11/2/2020   Southern      Oklahoma           94.66%   92.82%
11/2/2020   Southern      Rio Grande         93.00%   95.96%
11/2/2020   Southern      South Florida      87.39%   75.66%
11/2/2020   Southern      Suncoast           93.63%   86.21%
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11/2/2020 Western           Alaska             82.33%   53.55%
11/2/2020 Western           Arizona            92.15%   87.30%
11/2/2020 Western           Central Plains     91.36%   93.35%
                            Colorado/Wyom
11/2/2020   Western         ing                74.70%   68.00%
11/2/2020   Western         Dakotas            92.41%   90.90%
11/2/2020   Western         Hawkeye            92.53%   94.70%
11/2/2020   Western         Mid-Americas       90.08%   80.78%
11/2/2020   Western         Nevada Sierra      93.17%   92.32%
11/2/2020   Western         Northland          90.50%   89.89%
11/2/2020   Western         Portland           92.00%   94.55%
11/2/2020   Western         Salt Lake City     93.46%   93.93%
11/2/2020   Western         Seattle            92.10%   93.66%
11/3/2020   Capital Metro   Atlanta            65.13%   80.36%
11/3/2020   Capital Metro   Baltimore          61.65%   83.28%
11/3/2020   Capital Metro   Capital            73.65%   95.21%
                            Greater S
11/3/2020 Capital Metro     Carolina           65.58%   87.36%
11/3/2020 Capital Metro     Greensboro         67.84%   66.30%
11/3/2020 Capital Metro     Mid-Carolinas      78.03%   70.24%

11/3/2020 Capital Metro     Norther Virginia   84.11%   94.23%
11/3/2020 Capital Metro     Richmond           80.63%   89.57%
11/3/2020 Eastern           Appalachian        81.66%   93.79%
                            Central
11/3/2020   Eastern         Pennsylvania       56.86%   27.84%
11/3/2020   Eastern         Kentuckiana        83.57%   95.29%
11/3/2020   Eastern         Norther Ohio       62.71%   79.18%
11/3/2020   Eastern         Ohio Valley        71.96%   93.10%
                            Philadelphia
11/3/2020 Eastern           Metropo            42.91%   55.38%
11/3/2020 Eastern           South Jersey       77.39%   96.09%
11/3/2020 Eastern           Tennessee          84.40%   91.45%
                            Western New
11/3/2020 Eastern           York               89.96%   97.32%
                            Western
11/3/2020   Eastern         Pennsylvania       85.49%   95.79%
11/3/2020   Great Lakes     Central Illinois   77.46%   89.37%
11/3/2020   Great Lakes     Chicago            59.76%   89.20%
11/3/2020   Great Lakes     Detroit            60.62%   65.18%
11/3/2020   Great Lakes     Gateway            79.33%   89.89%

11/3/2020 Great Lakes       Greater Indiana    81.40%   90.92%
                            Greater
11/3/2020 Great Lakes       Michigan           78.21%   88.17%
11/3/2020 Great Lakes       Lakeland           78.18%   93.80%
11/3/2020 Northeast         Albany             91.84%   96.06%
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11/3/2020 Northeast     Caribbean        84.08%       72.70%
                        Connecticut
11/3/2020 Northeast     Valley           89.11%       96.38%

11/3/2020 Northeast     Greater Boston   87.80%       93.73%
11/3/2020 Northeast     Long Island      84.85%       97.12%
11/3/2020 Northeast     New York         87.94%       98.12%
                        Northern New
11/3/2020 Northeast     England          87.67%       96.49%
                        Northern New
11/3/2020   Northeast   Jersey           83.03%       93.84%
11/3/2020   Northeast   Triboro          85.87%       94.98%
11/3/2020   Northeast   Westchester      90.76%       95.69%
11/3/2020   Pacific     Bay-Valley       89.42%       97.67%
11/3/2020   Pacific     Honolulu         89.41%       88.75%
11/3/2020   Pacific     Los Angeles      70.41%       95.41%
11/3/2020   Pacific     Sacramento       79.29%       95.35%
11/3/2020   Pacific     San Diego        84.61%       96.87%
11/3/2020   Pacific     San Francisco    86.83%       97.30%
11/3/2020   Pacific     Santa Ana        79.07%       97.31%
11/3/2020   Pacific     Sierra Coastal   83.11%       96.97%
11/3/2020   Southern    Alabama          80.48%       92.15%
11/3/2020   Southern    Arkansas         85.56%       92.54%
11/3/2020   Southern    Dallas           78.01%       93.83%
11/3/2020   Southern    Ft. Worth        83.89%       95.32%
11/3/2020   Southern    Gulf Atlantic    72.64%       87.40%
11/3/2020   Southern    Houston          78.25%       97.03%
11/3/2020   Southern    Louisiana        79.75%       84.06%
11/3/2020   Southern    Mississippi      82.59%       90.22%
11/3/2020   Southern    Oklahoma         89.28%       95.42%
11/3/2020   Southern    Rio Grande       83.02%       93.55%
11/3/2020   Southern    South Florida    67.08%       86.04%
11/3/2020   Southern    Suncoast         75.87%       94.46%
11/3/2020   Western     Alaska           82.34%       91.93%
11/3/2020   Western     Arizona          77.15%       88.33%
11/3/2020   Western     Central Plains   87.37%       94.21%
                        Colorado/Wyom
11/3/2020   Western     ing              62.13%       68.49%
11/3/2020   Western     Dakotas          88.36%       84.65%
11/3/2020   Western     Hawkeye          87.56%       95.24%
11/3/2020   Western     Mid-Americas     79.48%       87.21%
11/3/2020   Western     Nevada Sierra    83.31%       94.59%
11/3/2020   Western     Northland        82.97%       93.46%
11/3/2020   Western     Portland         83.94%       95.41%
11/3/2020   Western     Salt Lake City   80.26%       92.23%
11/3/2020   Western     Seattle          83.54%       95.20%
